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 Progesterone to prevent miscarriage in
 women with early pregnancy bleeding:
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 Ilias Goranitis, Chidubem B Ogwulu, Helen M Williams, Ioannis D Gallos, Abey Eapen,
 Jane P Daniels, Amna Ahmed, Ruth Bender-Atik, Kalsang Bhatia, Cecilia Bottomley,
 Jane Brewin, Meenakshi Choudhary, Fiona Crosfill, Shilpa Deb, W Colin Duncan,
 Andrew Ewer, Kim Hinshaw, Thomas Holland, Feras Izzat, Jemma Johns,
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 Kathiuska Kriedt, Siobhan Quenby, Sandhya Rao, Jackie Ross, Anupama Shahid,
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